                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                          DOCKET NO. 3:17-cv-00601-FDW-DCK


 WHIRLPOOL        PROPERTIES,  INC., )
 WHIRLPOOL        CORPORATION,   and )
 MAYTAG PROPERTIES, LLC,             )
                                     )
      Plaintiffs,                    )
                                     )                                    ORDER
 vs.                                 )
                                     )
 FILTERS FAST, LLC,                  )
                                     )
      Defendant.                     )
                                     )

       THIS MATTER is before the Court on parties’ Joint Motion to Stay Case Pending

Completion of Settlement (Doc. No. 188). For the reasons stated therein, parties’ Motion is

GRANTED.

       IT IS HEREBY ORDERED that all proceedings in this case, including all pending

deadlines, are stayed up to and including June 2, 2019, to allow for competition of a final settlement

agreement.

       IT IS SO ORDERED.

                                         Signed: May 6, 2019




     Case 3:17-cv-00601-FDW-DCK Document 189 Filed 05/06/19 Page 1 of 1
